            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        1:17 CR 460-01



UNITED STATES OF AMERICA

                                         Motion for Leave to Withdraw as
v.                                           Counsel for Defendant


PAULA K. BULLOCK


       NOW COMES Paul Dubbeling of the law firm P.M. Dubbeling, PLLC

and respectfully moves this Court for leave to withdraw as counsel for the

Defendant in this matter.

       In support of this motion, counsel shows the following:

     1. Counsel’s representation agreement with counsel extended through

       final judgment on her case.

     2. Defendant pled guilty to counts 7sss (Use of Unauthorized Access

       Devices) and 22sss (False Statements) in this case on or about August

       1, 2019. See D.E. 71.

     3. Pursuant to her plea, Defendant was convicted on these counts and the

       remaining counts were dismissed.

     4. Defendant’s conviction is now final. and Defendant has not appealed

       her sentence.




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   5. Counsel’s representation agreement with Defendant has now ended.



      Accrodingly, counsel respectfully moves this Court to grant counsel’s

Motion to Withdraw as Counsel in this matter.



This is the 24th day of April, 2020.



                                           Respectfully submitted,



                                           //Paul M. Dubbeling//
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                            Certificate of Service

       This is to certify that the undersigned has this date electronically filed
the foregoing Defendant’s Motion to Extend Time to Report for Active
Sentence with the Clerk of Court using the Court’s CM/ECF System, which
will send notice to all counsel of record.


      This is the 24th day of April, 2020.




                                             /s/ Paul M. Dubbeling
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